       Case: 20-15568, 03/07/2023, ID: 12669204, DktEntry: 101, Page 1 of 2




                   UNITED STATES COURT OF APPEALS                      FILED
                          FOR THE NINTH CIRCUIT                         MAR 7 2023
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS
MACKENZIE BROWN, a single woman,              No.    20-15568

               Plaintiff-Appellant,           D.C. No. 2:17-cv-03536-GMS
                                              District of Arizona,
 v.                                           Phoenix

STATE OF ARIZONA; ARIZONA BOARD ORDER
OF REGENTS, DBA University of Arizona,
a constitutionally created body corporate,

               Defendants-Appellees,

and

RICHARD A. RODRIQUEZ; RITA
RODRIQUEZ,

               Defendants,

 v.

LIDA DEGROOTE,

               Third-party-plaintiff.

      IT IS ORDERED that the United States’ Motion to Participate in Oral

Argument as Amicus Curiae in Support of Plaintiff-Appellant (Doc. 97) is granted.
Case: 20-15568, 03/07/2023, ID: 12669204, DktEntry: 101, Page 2 of 2




                                        FOR THE COURT:

                                        MOLLY C. DWYER
                                        CLERK OF COURT


                                        By: Omar Cubillos
                                        Deputy Clerk
                                        Ninth Circuit Rule 27-7




                                 2
